         Case 4:19-cv-04073-JST Document 132-1 Filed 01/27/21 Page 1 of 1




 1
                                      UNITED STATES DISTRICT COURT
 2                                  NORTHERN DISTRICT OF CALIFORNIA

 3    East Bay Sanctuary Covenant, et al.,
                                                              Case No.: 4:19-cv-04073-JST
 4                    Plaintiffs,
                                                             [PROPOSED] ORDER
 5                    v.

 6    Robert M. Wilkinson, et al.,

 7                    Defendants.

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10          Upon consideration of Plaintiffs’ Motion for Leave to File Amended and Supplemental
11   Complaint and to Lift Stay of Proceedings (ECF No. 130), Defendants’ consent thereto, and for good
12   cause shown, IT IS HEREBY ORDERED that the motion is GRANTED. The stay of proceedings
13   entered November 19, 2019 is hereby lifted, and Plaintiffs are directed to file their First Amended
14   and Supplemental Complaint on the docket.
15          The Court further hereby adopts the parties’ proposed briefing schedule concerning
16   Plaintiffs’ pending Motion for Preliminary Injunction and Stay of Final Rule’s Effective Date
17   Pursuant to 5 U.S.C. § 705 (ECF No. 131).
18          Defendants shall file their response to the motion by February 1, 2021; and Plaintiffs shall
19   file their reply, if any, by February 4, 2021.
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21          IT IS SO ORDERED.
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     Dated: _______________________                              ____________________________
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                                                                       HON. JON S. TIGAR
25                                                               UNITED STATES DISTRICT JUDGE

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